Case 2:03-CV-02423-SH|\/|-tmp Document 138 Filed 08/04/05 Page 1 of 3 Page|D 154
IN THE UNITED sTATEs DISTRIC'I‘ ES'EJH'I'"

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FOR 'I‘HE WESTERN DISTRICT OF TENN§i%EE_|+ ?“ 33 59

 

wESTERN DIVISION 0
THWC-¢.GG$LD
LAURA A. TAVERNIER, M.D., c U.S. iiich
w Of-TN.
Plaintiff,
v. No. 03-2423-Map

THE UNIVERSITY OF TENNESSEE
COLLEGE OF MEDICINE, ET AL.,

Defendants.

 

OR_DER GRANTING PERMISSION TO FILE REPLY
TO MEMORANDUM IN OPPOSITION TO MIDTLING’S
MOTION FOR SUMMARY JUDGMENT

 

Before the court is defendant John E. Midtling's August 2,
2005, motion for leave to file a reply, in his individual
capacity, to plaintiff's opposition to his motion for summary
judgment. For good cause shown, the motion is granted and
defendant may file his reply.

It is so ORDERED this HKday of AugustZ)OB.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRIC'I‘ JUDGE

 

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with Rule ou and!or ?'9{3) FP.CP on __ §_5__®._ /jg

 

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Honorable Samuel Mays
US DISTRICT COURT

